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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)
                                                Hearing Date Requested: December 20, 2023 at 3:00 p.m. (ET)
                                            Objection Deadline Requested: December 19, 2023 at 5:00 p.m. (ET)

       MOTION FOR (I) AN ORDER (A) APPROVING BID PROCEDURES
 FOR THE SALE OF THE DEBTORS’ LAB-TO-MARKET™ ASSETS; (B) SETTING
   MINIMUM RESERVE PRICE; (C) SCHEDULING THE AUCTION AND SALE
 HEARING; (D) APPROVING THE FORM AND MANNER OF NOTICE THEREOF;
  AND (E) GRANTING RELATED RELIEF; AND (II) AN ORDER OR ORDERS (A)
 APPROVING THE SALE OF THE DEBTORS’ LAB-TO-MARKET™ ASSETS FREE
AND CLEAR OF ALL ENCUMBRANCES; AND (B) APPROVING THE ASSUMPTION
  AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          The above-captioned debtors and debtors in possession (the “Debtors”) file this motion

(the “Motion”) for entry of an order, pursuant to sections 105(a), 363, 365, 503, 507, 1107, and

1108 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 6004, and 6006

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-1 and

6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), substantially in the proposed form attached

hereto as Exhibit A (the “Bid Procedures Order”):

         i.        establishing bid procedures (the “Bid Procedures”), substantially in the form
                   attached as Exhibit 1 to the Bid Procedures Order, in connection with the sale or
                   sales (each, a “Sale”) of the Debtors’ non-consumer brand assets, consisting of the
                   Debtors’ Lab-to-Market™ business involving the research, formulation, and
                   development of ingredients and ingredient applications, commercial scaling, and


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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.

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                   commercialization of its sustainable ingredients, pursuant to section 363 of the
                   Bankruptcy Code, subject to the exercise of the Sale Option;2

       ii.         scheduling an auction or auctions for a Sale or Sales (each, an “Auction”) and
                   approving the form and manner of notice thereof (the “Bid Procedures/Auction
                   Notice”);

      iii.         setting a hearing for approval of any Sale(s) (the “Sale Hearing”); and

      iv.          granting related relief.

         In support of this Motion, the Debtors rely upon and refer this Court to the Declaration of

Han Kieftenbeld in Support of the Debtors’ Chapter 11 Petitions and First Day Relief [Docket

No. 18] (the “First Day Declaration”),3 incorporated herein by reference. In further support of the

Motion, the Debtors respectfully represent as follows:

                                     PRELIMINARY STATEMENT

         1.        Under the terms of the Amended & Restated Plan Support Agreement, dated

December 12, 2023, among the Debtors, Foris Prepetition Secured Lenders, DIP Lenders, the

Official Committee of Unsecured Creditors (the “Creditors’ Committee”), Consenting

Noteholders and other parties (the “Plan Support Agreement”), the Debtors are required to initiate

a sale process for the Lab-to-Market™ Assets (the “Sale Process”) immediately. The Debtors

have commenced the sale process. Pursuant to and as provided for in the Second Amended Joint

Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified [Docket

No. 892] (the “Plan”), the DIP Lenders and Foris Prepetition Secured Lenders may elect, before

Confirmation, for the Debtors to close a sale of the Lab-to-Market™ Assets (the “Sale Option”).

By this Motion, the Debtors seek approval of the Bid Procedures and related relief to facilitate the


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    The “Sale Option” is defined in the Plan (as hereinafter defined) as “the election, to be made by the DIP Lenders
    and the Foris Prepetition Secured Lenders, at any time prior to the Confirmation Date, for the Debtors to close a
    sale of the Other Assets pursuant to the Other Assets Bidding Procedures.”
3
    A capitalized term used but not defined herein shall have the meaning ascribed to it in the First Day Declaration
    or the Plan.

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marketing and offer for sale of the Lab-to-Market™ Assets through one or more Sales under

section 363 of the Bankruptcy Code. If the Sale Option is exercised, the Debtors will sell all or

substantially all of the Lab-to-Market ™ Assets on the terms and conditions set forth in the Bid

Procedures Order in connection with the confirmation of the Plan.

         2.        With the assistance of their investment banker, Intrepid Investment Bankers LLC

(“Intrepid”), and in consultation with their major stakeholders, the Debtors will conduct a robust

marketing process to identify one or more parties interested in pursuing a Sale or Sales (each, a

“Potential Bidder”) of the Debtors’ Lab-to-Market™ Assets.

         3.        The Bid Procedures provide the formal sale framework designed to elicit value-

maximizing bids for the Lab-to-Market™ Assets. Among other things, the Bid Procedures: (a)

establish a timeline for the Sale Process that is reasonable and appropriate under the circumstances

of these Chapter 11 Cases; (b) establish the basic rules for submitting bids for the purchase of any

or all of the Lab-to-Market™ Assets; (c) establish the Minimum Reserve Price (as defined below)

that must be satisfied by the Qualified Bids; and (d) provide major creditor groups with

consultation rights at various stages in the process. The proposed Bid Procedures comply with the

requirements of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules and, therefore,

should be approved.

         4.        Consistent with the Debtors’ need to pursue a Sale or Sales as efficiently as

possible, the Debtors propose the following key dates and deadlines for the Sale Process:4

              Date                                                     Event
December 19, 2023 at 5:00 p.m.                  Bid Procedures Motion Objection Deadline

December 20, 2023 at 3:00 p.m.                  Bid Procedures Hearing

4
    The Debtors, consistent with their fiduciary duties, in the exercise of their business judgment, and in consultation
    with the Consultation Parties, reserve the right to modify these dates consistent with the terms of the DIP Facility,
    Plan Support Agreement and the Plan to achieve a value-maximizing Sale or Sales.

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                     Date                                             Event

December 22, 2023                           Deadline to File Bid Procedures Notice

January 16, 2024 at 5:00 p.m.               Deadline to Submit Qualified Bids
                                            Deadline to Designate Qualified Bids and File Auction
January 18, 2024                            Notice
January 19, 2024 at 10:00 a.m.              Sale Auction(s)
January 21, 2024 (Sunday)                   Deadline to File Notice of Successful Bidder(s) and
                                            Back-Up Bidder(s)
                                            Adequate Assurance Objection Deadline
January 23, 2024 at 5:00 p.m.               Deadline to Object to Sale(s)
January 24, 2024                            Sale Hearing
February 9, 2024                            Deadline to Close Transaction(s)

         5.        Accordingly, as discussed in detail herein, the Debtors respectfully request entry of

the Bid Procedures Order.

                                    JURISDICTION AND VENUE

         6.        The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Court may enter a final order consistent with Article III of the United States Constitution.

The Debtors confirm their consent, pursuant to Rule 9013-1(f) of the Local Rules, to the entry of

a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

         7.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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         8.        The statutory predicates for the relief sought herein are sections 105, 363, 365, 503,

507, 1107, and 1108 of the Bankruptcy Code, Bankruptcy Rules 2002(a)(2), 6004, 6006, and 9014,

and Local Rules 2002-1(b), 6004-1, and 9006-1.

                                            BACKGROUND

A.       General Case Background

         9.        On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code, commencing these

Chapter 11 Cases. The Debtors have continued in the possession of their property and have

continued to operate and manage their businesses as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.           A detailed description of the Debtors’ business and

facts precipitating the filing of the Debtors’ Chapter 11 Cases are set forth in the First Day

Declaration.

         10.       On August 27, 2023, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the Committee, including the following members: U.S. Bank Trust Co. NA; Cosan U.S.

Inc.; Sartorius Stedim North America Inc.; Hearst Magazine Media Inc.; Wiley Companies; Park

Wynwood LLC; and Allog Participacoes Ltda.

         11.       The Debtors were founded in 2003 to create a more stable supply of a key anti-

malarial treatment. Through the Debtors’ cutting-edge science, artemisinin—the most effective

anti-malarial drug in the world—is now consistently available to treat the deadly disease. Using

the same technological innovations that produced artemisinin, the Debtors have become the

world’s leading manufacturer of ingredients made with synthetic biology. The Debtors provide

sustainable ingredients that are eco-friendly alternatives to raw material sourced for flavors and

fragrances, sweeteners, cosmetics, pharmaceuticals, and other consumer products.



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         12.       In addition, the Debtors operate a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), MenoLabs™ (healthy living and menopause

wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a new clean haircare line)

(collectively, the “Operating Consumer Brands”).

B.       The Consumer Brands Sales

         13.       On September 18, 2023, the Debtors filed their motion [Docket No. 316] (the

“Operating Consumer Brands Sale Procedures Motion”) for an order of the Court (a) establishing

bid procedures to govern the sales of assets associated with the Debtors’ Operating Consumer

Brands; (b) authorizing the Debtors to enter into stalking horse agreements regarding the sales of

assets relating to the Operating Consumer Brands; (c) authorizing the Debtors to offer break-up

fees in connection with the stalking horse agreements; and (d) scheduling one or more auctions

and a hearing for approval of any sales of such assets.

         14.       On October 16, 2023, the Bankruptcy Court entered the Order (A) Approving Bid

Procedures for the Sale of the Debtors’ Brand Assets; (B) Approving Certain Bid Protections In

Connection with the Debtors' Entry Into Any Potential Stalking Horse Agreements; (C) Scheduling

the Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and (E)

Granting Related Relief [Docket No. 553] (the “Operating Consumer Brands Bid Procedures

Order”).

         15.       Pursuant to the Operating Consumer Brands Bid Procedures Order, the Debtors

conducted auctions for various Operating Consumer Brands assets and are in the process of

finalizing and documenting the transactions memorializing the sales of such assets.



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C.       The Plan

         16.       On December 12, 2023, the Debtors filed the Plan, which states:


           At the election of the DIP Lenders and the Foris Prepetition Secured Lenders,
           which may be made in their sole discretion at any time prior to the Confirmation
           Date, the Debtors shall close a sale of the Other Assets pursuant to the Other
           Assets Bidding Procedures with the consideration for sale of the Other Assets to
           be distributed, as part of the Net Proceeds, as provided for in the Plan. The sale
           of the Other Assets will be conducted in accordance with the Other Assets
           Bidding Procedures, with the DIP Lender and the Foris Prepetition Secured
           Lenders providing an Other Assets Stalking Horse Credit Bid.
Plan § IV.R. at 46.5 The Plan defines “Other Assets” as “all of the assets of the Debtors’ Estates

excluding: (a) the Consumer Brands (and the proceeds of the sale thereof); (b) the Estate Claims

Settlement Consideration; and (c) Third-Party Release Settlement Amounts.” Id. § I.A.145. at 15.

The Other Assets largely consist of the Debtors’ Lab-to-Market™ Assets.

         17.       Also, the Plan provides that one of the conditions to Confirmation is that, “in the

event of a Sale Option, the proceeds of the Sold Assets shall in the aggregate generate cash Net

Proceeds in an amount necessary to fund the Plan Effective Date Funding Amount. Id. § X.B.6.

at 70.

D.       The Debtors’ Lab-to-Market™ Assets

         18.       The core asset of the Company, other than its remarkable and world class scientists,

is its unique fermentation-based Lab-to-Market technology platform. This suite of technology

creates a portfolio connection between the Company’s proprietary science and formulation

expertise and its manufacturing capability at industrial scale. This unique technology platform

offers advantages to traditional methods of sourcing similar ingredients (such as petrochemistry,



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     For purposes of the Bidding Procedures, the Plan, and the Plan Support Agreement, the Minimum Reserve Price
     shall in the aggregate be deemed to be, and shall be, the Other Assets Stalking Horse Credit Bid provided by the
     DIP Lenders and the Foris Prepetition Secured Lenders.

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unsustainable agricultural practices, and extraction from organisms). These advantages include

but are not limited to renewable and ethical sourcing of raw materials, less resource-intensive

production, minimal impact on sensitive ecosystems, enhanced purity and safety profile, less

vulnerability to climate disruption, and improved supply chain resilience.

         19.       In order to bring together biology and engineering to produce sustainable materials

that are scarce or endangered in nature, the Company leverages state-of-the-art machine learning,

robotics, and artificial intelligence, which enable our technology platform to rapidly bring new

innovation to market. For example, Amyris is able to design, build, and analyze thousands of

strains in a single experiment through the use of artificial intelligence and robotics automation,

thereby enabling the Company to test thousands of hypotheses simultaneously. The Company’s

Lab-to-Market™ platform is supported by the Company’s state-of-the-art infrastructure, which

includes industry-leading strain engineering and lab automation located in Emeryville, California;

pilot-scale production facilities in Emeryville and Campinas, Brazil; a demonstration-scale facility

in Campinas; commercial scale production facilities in Leland, North Carolina and the State of

Sao Paolo, Brazil.

         20.       The Lab-to-Market™ Assets that are the subject of this Motion and proposed sale

process, include substantially all of the Debtors’ assets related to its Lab-to-Market™ platform,

including its (a) intellectual property, (b) laboratories, and (c) commercial manufacturing interests,

including a chemical plant in Leland, North Carolina and the Company’s interest in Amyris

RealSweet LLC, which entity indirectly owns the manufacturing facility in Barra Bonita, Brazil.




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                   1.        Intellectual Property

         21.       The Company protects its proprietary technologies by, among other methods, filing

for patent applications on inventions that are important to the development and conduct of its

business with the U.S. Patent and Trademark Office and its foreign counterparts.

         22.       As of the Petition Date, the Company had 731 issued U.S. and foreign patents and

393 pending U.S. and foreign patent applications that are owned or co-owned by or licensed to

Amyris.

         23.       The Company’s patent portfolio generally covers (a) recombinant host cell strains

that have been developed for producing target molecules of interest at high yield and

productivities, (b) genetic editing techniques for producing the strains, (c) fermentation techniques

for culturing the host cells for optimal production of target molecules, (d) downstream purification

processes to purify the target molecules from the fermentation broth, and (e) formulations and

blends of Amyris ingredients for use in personal care, industrial, and other applications.

                   2.        Leland Plant

         24.       The Company converts farnesene (manufactured in Brazil) into Squalane at its

chemical plant in Leland, North Carolina. Opened in 2008 and situated on over 23 acres, the

Leland, North Carolina-based commercial-scale production facility has the ability to produce

3,200 metric tons of squalane per year.

                   3.        Amyris RealSweet and Barra Bonita Plant

         25.       In June 2021, the Company entered into an intellectual property license agreement

with PureCircle Limited (“PureCircle”), a subsidiary of Ingredion Incorporated (“Ingredion”),

whereby Amyris (a) granted certain intellectual property licenses to PureCircle to make, have

made, commercialize, and advance the development of sustainably sourced, zero-calorie, nature-



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based sweeteners and potentially other types of fermentation-based ingredients, as the exclusive

global business-to-business commercialization partner for the Company’s sugar reduction

technology, (b) entered into a product supply and profit sharing agreement to provide

manufacturing services and products to PureCircle, and (c) assigned and transferred certain

customer contracts to PureCircle related to the sale and distribution of Reb M (the “PureCircle

Transaction”).

         26.       In connection with the PureCircle Transaction, Ingredion purchased a 31%

minority membership interest in Amyris RealSweet LLC (“Amyris RealSweet”) pursuant to a

Membership Interest Purchase Agreement (the “RealSweet Purchase Agreement”)

         27.       Under the terms of the RealSweet Purchase Agreement, Amyris funded the

construction costs related to a new precision fermentation facility in Barra Bonita, Brazil (the

“Barra Bonita Plant”) in the aggregate amount of approximately $150 million.

         28.       Amyris RealSweet indirectly owns the Barra Bonita Plant, which is currently

operational and producing Reb M for PureCircle, as well as other ingredients for DSM and its

customers.

E.       The Marketing Process

         29.       The Debtors’ Sale Process is being managed by their investment banker, Intrepid.

Intrepid was retained by the Debtors in July 2023 to, among other things, assist the Debtors in

marketing their assets. To that end, Intrepid has populated a digital data room (the “Data Room”)

for prospective purchasers interested in purchasing all or any portion of the Debtors’ Lab-to-

Market™ Assets. In addition, Intrepid has compiled a list of prospective buyers, prepared a

confidentiality agreement to be executed by interested parties, and has commenced its outreach.

In certain instances, to protect sensitive, proprietary, commercial information, interested parties



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will only be able to access diligence via “clean room procedures”. Intrepid anticipates distributing

a bid process letter following the entry of the Bid Procedures Order.

                                              RELIEF REQUESTED

A.       Bid Procedures Order

         30.       By this Motion, the Debtors seek the entry of the Bid Procedures Order:

(a) approving the Bid Procedures, which includes the Minimum Reserve Price; (b) approving

various forms and the manner of notice thereof; (c) scheduling the Auction and a Sale Hearing;

and (d) granting related relief. The Bid Procedures proposed herein are consistent with the

procedures previously approved by the Court for the sale of the Operating Consumer Brands assets.

         31.       Additionally, by this Motion, the Debtors further request that, at the Sale Hearing,

the Court enter an order or orders approving the Sale(s) of the Lab-to-Market™ Assets free and

clear of all Encumbrances.6


6
     As used herein, “Encumbrance” and “Encumbrances” include all of the following, in each case, to the extent
     against or with respect to the Debtors, or in, on, or against, or with respect to any of the Lab-to-Market™ Assets:
     liens (including as defined in section 101(37) of the Bankruptcy Code, and whether consensual, statutory,
     possessory, judicial, or otherwise), claims (as defined in section 101(5) of the Bankruptcy Code) (“Claims”),
     debts (as defined in section 101(12) of the Bankruptcy Code), encumbrances, obligations, liabilities, demands,
     guarantees, actions, suits, defenses, deposits, credits, allowances, options, rights, restrictions, limitations,
     contractual commitments, or interests of any kind or nature whatsoever, whether known or unknown, choate or
     inchoate, filed or unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or
     unperfected, allowed or disallowed, contingent or non-contingent, liquidated or unliquidated, matured or
     unmatured, material or non-material, disputed or undisputed, whether arising prior to, on, or subsequent to, the
     commencement of these Chapter 11 Cases, and in each case, whether imposed by agreement, understanding, law,
     equity, or otherwise, including, but not limited to: (i) mortgages, security deeds, deeds of trust, pledges, charges,
     security interests, levies, hypothecations, encumbrances, easements, servitudes, leases, subleases, licenses, rights-
     of-way, encroachments, restrictive covenants, restrictions on transferability, voting, sale, transfer or other similar
     restrictions, rights of setoff (except for setoffs validly exercised before the Petition Date, or preserved in a timely
     filed proof of claim or motion filed with the Court), rights of use or possession, conditional sale arrangements,
     deferred purchase price obligations, profit sharing interest, or any similar rights; (ii) all Claims, including, without
     limitation, all rights or causes of action (whether in law or equity), proceedings, warranties, guarantees,
     indemnities, rights of recovery, setoff (except for setoffs validly exercised before the Petition Date, or preserved
     in a timely filed proof of claim or motion filed with the Court), indemnity or contribution, obligations, demands,
     restrictions, indemnification claims, or liabilities relating to any act or omission of the Debtors or any other
     Person, consent rights, options, contract rights, covenants, and interests of any kind or nature whatsoever (known
     or unknown, matured or unmatured, accrued, or contingent and regardless of whether currently exercisable),
     whether arising prior to or subsequent to the commencement of these Chapter 11 Cases, and whether imposed by
     agreement, understanding, law, equity, or otherwise; (iii) all debts, liabilities, obligations, contractual rights and
     claims, including labor, employment, and pension claims; (iv) any rights that purport to give any party a right or

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B.       Bid Procedures

         32.       To maximize the value of their Lab-to-Market™ Assets for the benefit of the

Debtors’ estates and creditors, the Debtors seek to implement a competitive bidding process for

one or more Sales. As described more fully in the Bid Procedures and the Bid Procedures Order,

the Debtors seek approval, upon the exercise of the Sale Option, to sell the Lab-to-Market™ Assets

to one or more Qualified Bidders (as defined below) that is at or above the Minimum Reserve

Price, and makes the highest or otherwise best offers for the Lab-to-Market™ Assets relative to

the Plan. The Debtors request that bids for the Lab-to-Market™ Assets be governed by the Bid

Procedures and Bid Procedures Order, which, among other things, collectively establish:

                   a.        the requirements that an Interested Party must satisfy to be entitled to
                             participate in the bidding process and become a Potential Bidder;




     option to effect any forfeiture, modification, right of first offer or first refusal, or consents, or termination of the
     Debtors’ or the Successful Bidder(s)’ interest in the Lab-to-Market™ Assets, or any similar rights; (v) any rights
     under labor or employment agreements; (vi) any rights under pension, multiemployer plan (as such term is defined
     in section 3(37) or section 4001(a)(3) of the Employment Retirement Income Security Act of 1974 (as amended,
     “ERISA”)), health or welfare, compensation or other employee benefit plans, agreements, practices, and
     programs, including, without limitation, any pension plans of the Debtors or any multiemployer plan to which the
     Debtors have at any time contributed to or had any liability or potential liability; (vii) any other employee claims
     related to worker’s compensation, occupation disease, or unemployment or temporary disability, including,
     without limitation, claims that might otherwise arise under or pursuant to (a) ERISA, (b) the Fair Labor Standards
     Act, (c) Title VII of the Civil Rights Act of 1964, (d) the Federal Rehabilitation Act of 1973, (e) the National
     Labor Relations Act, (f) the Age Discrimination and Employment Act of 1967 and the Age Discrimination in
     Employment Act, each as amended, (g) the Americans with Disabilities Act of 1990, (h) the Consolidated
     Omnibus Budget Reconciliation Act of 1985, as amended, including, without limitation, the requirements of
     Part 6 of Subtitle B of Title I of ERISA and Section 4980B of the Internal Revenue Code of any similar state law,
     (i) state discrimination laws, (j) state unemployment compensation laws or any other similar state laws, (k) any
     other state or federal benefits or claims relating to any employment with the Debtors or any of their predecessors,
     or (l) the WARN Act (29 U.S.C. §§ 2101, et seq.) or any state or other laws of similar effect; (viii) any bulk sales
     or similar law; (ix) any tax statutes or ordinances or other laws of similar effect, including, without limitation, the
     Internal Revenue Code of 1986, as amended, and any taxes arising under or out of, in connection with, or in any
     way relating to the operation of the Lab-to-Market™ Assets before the closing of a Sale; (x) any unexpired and
     executory contract or unexpired lease to which the Debtors are a party that is not an Transferred Contract; (xi)
     any other excluded liabilities under the Purchase Agreement; and (xii) Encumbrances arising under or in
     connection with any acts, or failures to act, of the Debtors or any of their predecessors, affiliates, or subsidiaries,
     including, but not limited to, Encumbrances arising under any doctrines of successor liability (to the greatest
     extent permitted by applicable law), or transferee or vicarious liability, violation of the Securities Act, the
     Exchange Act, or other applicable securities laws or regulations, breach of fiduciary duty, or aiding or abetting
     breach of fiduciary duty, or any similar theories under applicable law or otherwise.

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                   b.        the requirements for Potential Bidders to submit bids and the method and
                             criteria by which such bids become Qualified Bids;

                   c.        the Minimum Reserve Price, as a Qualified Bid requirement;

                   d.        the deadline by which bids must be submitted;

                   e.        certain procedures related to the assumption and assignment or transfer of
                             executory contracts and unexpired leases; and

                   f.        various other matters relating to the Sale Process, including the Auction,
                             designation of Successful Bidder(s), and Sale Hearing.

         33.       After submission of all Qualified Bids, the Debtors, after consultation with the

Consultation Parties7 and subject to the exercise of the Sale Option, will select the highest or

otherwise best Qualified Bid(s) for one or more of the Lab-to-Market™ Assets or all or

substantially all of the Lab-to-Market™ Assets (a Baseline Bid, as defined below). In no event

shall any Qualified Bidder be entitled to any Bid Protections.

         34.       The Bid Procedures contain the following provisions, some of which are required

to be highlighted pursuant to Local Rule 6004-1(c) and which are more fully described in the Bid

Procedures and the Bid Procedures Order:8

         (a)       Provisions Governing Qualification of Bidders. To participate in the bidding
                   process and receive due diligence information, including full access to the Data

7
    The Creditors’ Committee, the Ad Hoc Group of Noteholders, the DIP Lenders and the Foris Prepetition Secured
    Lenders shall be consultation parties (“Consultation Parties”); provided that the Debtors shall only consult with
    the DIP Lenders and the Foris Prepetition Secured Lenders when such consultation includes the Creditors’
    Committee and the Ad Hoc Group of Noteholders; provided further in connection with determining if a Bid is a
    Qualified Bid if the Debtors determine that it is necessary and appropriate for the Sale Process to not consult with
    the DIP Lenders and the Foris Prepetition Secured Lenders as to a specific non-economic issue or aspect of a Bid
    because of such Qualified Bidder’s confidential, proprietary business concerns regarding such identified specific
    issue or specific aspect of such Qualified Bidders’ Bid, the Debtors shall notify the DIP Lenders and the Foris
    Prepetition Secured Lenders that it is not consulting with the DIP Lenders and the Foris Prepetition Secured
    Lenders with respect to certain confidential issues or aspects of such Bid in accordance with the provisions hereof;
    provided, further, however, subject to the foregoing, if any such Bid is determined to be a Qualified Bid then at
    such time the Debtors shall consult with the DIP Lenders and the Foris Prepetition Secured Lenders as to all
    aspects of such Qualified Bid.


8
    These provisions are excerpted from the Bid Procedures. However, to the extent any inconsistencies between
    this summary and the Bid Procedures exist, the Bid Procedures shall govern.

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                   Room and additional non-public information regarding the Debtors (the “Diligence
                   Materials”), parties (each, an “Interested Party”) must deliver or have previously
                   delivered to the Debtors, determined by the Debtors in their sole discretion, the
                   following documents (collectively, the “Preliminary Bid Documents”): (a) an
                   executed confidentiality agreement using the Debtors’ form, as may be amended,
                   on terms reasonably acceptable to the Debtors, to the extent not already executed
                   (a “Confidentiality Agreement”); (b) a statement and/or other factual support
                   demonstrating to the Debtors’ satisfaction in the exercise of their reasonable
                   business judgment that the Interested Party has a bona fide interest in purchasing
                   all or any portion of the Lab-to-Market™ Assets; (c) preliminary proof by the
                   Interested Party of its financial capacity to close its proposed Sale Transaction(s),
                   which may include verbal or written representations of an Interested Party’s
                   financial wherewithal or financial statements of, or verified financial commitments
                   obtained by, the Interested Party (or, if the Interested Party is an entity formed for
                   the purpose of acquiring all or any portion of the Lab-to-Market™ Assets, the party
                   that will bear liability for a breach), the adequacy of which will be assessed by the
                   Debtors (including in consultation with their advisors), and (d) a statement of
                   willingness to abide by the “clean room procedures”.

         (b)       Qualified Bid of DIP Lenders and Foris Prepetition Secured Lenders The DIP
                   Lenders and Foris Prepetition Secured Lenders are Qualified Bidders (the “Stalking
                   Horse Bidder”) for purposes of the Bid Procedures as the Plan and PSA are deemed
                   to be a Qualified Bid for purposes of the Bid Procedures. Such Qualified Bid
                   constitutes the “Other Assets Stalking Horse Credit Bid” set forth in the Plan. The
                   Qualified Bid of the DIP Lenders and Foris Prepetition Secured Lenders need not
                   comply with the requirements set forth in paragraph 34(e) below.

         (c)       Minimum Reserve Price. A Qualified Bid must provide a cash purchase price
                   (“Cash Consideration”) that equals or exceeds $255,844,922, which consists of the
                   sum of (i) the outstanding principal and interest due and payable on the DIP Facility
                   as of the Effective Date (estimated to be $197,644,922 as of February 9, 2024, of
                   which $591,161 consists of accrued and unpaid interest outstanding); and (ii) the
                   amount of Plan Effective Date Funding Schedule (which is $58,200,000)
                   (collectively, the “Minimum Reserve Price”).

         (d)       Implementation Through Plan. A Successful Bid(s) shall be implemented in
                   connection with confirmation of the Plan.

         (e)       Provisions Governing Qualified Bids

                   (i)       Purpose and Identity of Assets to be Purchased. Each Bidder must state that
                             the Bid includes an offer by the Bidder to effectuate a Sale Transaction and
                             identify with specificity which Lab-to-Market™ Assets are included in the
                             Bid.

                   (ii)      Good Faith Deposit. Each Bid must be accompanied by a cash deposit (the
                             “Good Faith Deposit”) in the form of a wire transfer, certified check, or cash

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                             payable to the order of counsel pursuant to instructions to be provided by
                             Debtors equal to 10% of the Bidder’s proposed Purchase Price (as defined
                             herein), which will be held in a non-interest bearing escrow or trust account;
                             provided however, that the Stalking Horse Bidder shall not be required to
                             post a Good Faith Deposit.

                   (iii)     Purchase Price. Each Bid must clearly set forth the Cash Consideration and
                             identify any non-Cash Consideration included in such Bid (together with
                             the Cash Consideration, the “Purchase Price”) including, without limitation,
                             which executory contracts and unexpired leases the Bidder expects the
                             Debtors to assume and assign to the Bidder (the “Transferred Contracts”)
                             and which liabilities, if any, of the Debtors the Bidder is agreeing to assume
                             (the “Assumed Liabilities”). The Purchase Price associated with each Bid
                             may include only cash and/or other consideration acceptable to the Debtors
                             after consultation with the Consultation Parties; provided, however, in order
                             for one or more Bids to qualify as a “Topping Bid,” it or they collectively
                             must provide for Cash Consideration at Closing (as defined herein) that is
                             equal to or in excess of the Minimum Reserve Price.

                   (iv)      Binding and Irrevocable. Each Bid must include a signed writing stating
                             that it is binding and irrevocable until the selection of the Successful Bidder,
                             provided that if such Bidder is selected as the Successful Bidder or the
                             Back-Up Bidder, its offer shall remain irrevocable until the closing of the
                             Sale with the Successful Bidder or, as applicable, the Back-Up Bidder (the
                             “Closing”).

                   (v)       Contemplated Transaction Documents. Each Bid must include an executed
                             Purchase Agreement marked against the Form APA pursuant to which the
                             Qualified Bidder proposes to effectuate the contemplated Sale Transaction
                             including: (i) a redlined copy of the Purchase Agreement marked to show
                             all changes requested by the Qualified Bidder against the Form APA; (ii)
                             specification of the proposed Purchase Price; and (iii) any changes to any
                             exhibits or schedules to the Purchase Agreement (collectively, the
                             “Contemplated Transaction Documents”). The terms and conditions of the
                             Contemplated Transaction Documents must be, in the aggregate, not
                             materially more burdensome to the Debtors than the provisions contained
                             in the Form APA. A Bid must identify with particularity each and every
                             condition to Closing and all Transferred Contracts pursuant to the
                             Contemplated Transaction Documents. All Bids must provide that all Cure
                             Amounts (as defined herein) will be paid by such Bidder. The
                             Contemplated Transaction Documents must include a commitment to
                             close by no later than February 9, 2024. A Bid shall contain a detailed
                             description of how the Potential Bidder intends to treat current employees
                             of the Debtors.

                   (vi)      Contingencies. A Bid may not be conditioned on obtaining financing or
                             any internal approval or on the outcome or completion of due diligence, but

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                             may be subject to the accuracy in all material respects at Closing of
                             representations and warranties at or before Closing or the satisfaction in all
                             material respects of customary representations and warranties for
                             transactions of similar size and nature at or before Closing or the satisfaction
                             in all material respects of customary conditions for transactions of similar
                             size and nature at or before Closing. A Bid must disclose any governmental
                             approvals identified by the Potential Bidder other than as set forth in the
                             Contemplated Transaction Documents that may impact the evaluation of
                             such Bid.

                   (vii)     No Collusion. Each Bid must include a representation that the Bidder has
                             not engaged in any collusion with respect to its Bid submission (though
                             Potential Bidders are permitted to make joint bids) and that the Bidder will
                             not engage in any collusion with respect to any Bids, the Auction, or the
                             Sale Process.

                   (viii) Authorization to Bid and Identity of Bidder. Each Bid must include
                          evidence of authorization and approval from such Potential Bidder’s board
                          of directors (or comparable governing body, or a statement as to why such
                          approval is unnecessary) with respect to the submission, execution,
                          delivery, and closing of the Contemplated Transaction Documents. A Bid
                          must also fully disclose the identity of the entity that is submitting the Bid,
                          including the identity of the ultimate beneficial owners of the Bidder and
                          the identity of any person or entity providing debt or equity financing for
                          the Bid.

                   (ix)      Financing Sources. Each Bid must include written evidence that
                             demonstrates the Potential Bidder has the necessary financial ability to close
                             the contemplated Sale Transaction and provide adequate assurance of future
                             performance under all Transferred Contracts. Such information may
                             include, inter alia, the following:

                             a. the Potential Bidder’s current financial statements (audited, if they
                                exist);

                             b. contact names, telephone numbers, and e-mail addresses for verification
                                of financing sources;

                             c. evidence of the Potential Bidder’s internal resources and proof of any
                                debt or equity funding commitments that are needed to close the
                                contemplated Sale Transaction (including confirmation that the funding
                                of such commitments is not subject to any contingency); and

                             d. any other form of financial disclosure of credit-quality support
                                information acceptable to the Debtors demonstrating that such Potential
                                Bidder has the ability to close the contemplated Sale Transaction.



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                   (x)       Adequate Assurance of Future Performance. Each Bid must demonstrate,
                             in the Debtors’ reasonable business judgment and after consultation with
                             the Consultation Parties, that the potential Bidder can provide adequate
                             assurance of future performance to the applicable counterparty under all
                             Transferred Contracts as required by section 365 of the Bankruptcy Code.

                   (xi)      No Fees Payable to Qualified Bidder. A Bidder may not request any break-
                             up fee, termination fee, expense reimbursement, or any similar type of
                             payment. Moreover, by submitting a Bid, a Bidder shall be deemed to
                             waive the right to pursue a substantial contribution claim under section 503
                             of the Bankruptcy Code relating in any way to the submission of its Bid,
                             compliance with the Bid Procedures, or participation in the Sale Process.

                   (xii)     Non-Reliance. A Bid must include an acknowledgement and representation
                             of the Potential Bidder that it has had an opportunity to conduct any and all
                             due diligence regarding the Lab-to-Market™ Assets (as applicable to its
                             Bid) and Assumed Liabilities prior to making its Bid, that it has relied solely
                             upon its own independent review, investigation, and/or inspection of any
                             documents and/or the Lab-to-Market™ Assets in making its Bid, and that it
                             did not rely upon any written or oral statements, representations, warranties,
                             or guaranties, express, implied, statutory or otherwise, regarding the Lab-
                             to-Market™ Assets, the financial performance of the Lab-to-Market™
                             Assets or, as applicable, the physical condition of the Lab-to-Market™
                             Assets, the Assumed Liabilities, or the completeness of any information
                             provided in connection therewith or the Auction, except as expressly stated
                             in the Contemplated Transaction Documents.

                   (xiii) As Is, Where Is. A Bid must include an acknowledgement and
                          representation of the Potential Bidder that it understands that any Sale
                          Transaction shall be on an “as is, where is” basis and without
                          representations or warranties of any kind, nature, or description by the
                          Debtors, their agents, or their estates except to the extent set forth in the
                          Purchase Agreement of the Successful Bidder.

         (f)       Right to Credit Bid. At the Auction, if any, a Qualified Bidder who has a valid
                   and perfected lien9 on any Lab-to-Market™ Assets (a “Secured Party”) shall be
                   permitted to submit a credit bid for all or a portion of the assets subject to such lien,
                   up to the amount of such Secured Party’s claims (a “Credit Bid”), to the extent

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    Any credit bid by the holder of a junior lien must include a cash component sufficient to indefeasibly pay in full,
    in cash all claims and obligations of the holder of all liens senior to such junior lien.
    For the avoidance of doubt, the Debtors dispute the nature, extent, priority, and validity of any lien and security
    interest asserted by Lavvan, Inc. (“Lavvan”) against Amyris, Inc. The Debtors reserve all rights against Lavvan,
    including, but not limited to, the right to challenge any request by Lavvan to credit bid pursuant to section 363(k)
    of the Bankruptcy Code. Nothing herein should be construed or implied as any agreement of or consent by the
    Debtors to Lavvan’s ability to credit bid, nor a waiver of any of the Debtors’ rights under the Bankruptcy Code
    or applicable law.

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                   permitted under section 363(k) of the Bankruptcy Code; provided, however, that
                   any Secured Party, other than the Foris Prepetition Secured Lenders and the DIP
                   Lenders, that intends to participate in the Auction with a Bid that includes a Credit
                   Bid shall, as a condition to such participation, (i) notify the Debtors at least five (5)
                   calendar days prior to the Bid Deadline that it intends to submit a Credit Bid, and
                   (ii) provide all documentation requested by the Debtors to establish the lien, claims,
                   and encumbered assets that will be the subject of the Secured Party’s potential
                   Credit Bid.

         (g)       Provisions Governing the Auction. After the receipt and review of all Qualified
                   Bids, the Debtors shall make a determination, after consultation with the
                   Consultation Parties and subject to the exercise of the Sale Option, whether to
                   accept the highest or best Qualified Bid(s) for all or any portion of the Lab-to-
                   Market™ Assets.

                   To the extent the Debtors receive multiple Qualified Bids and determine to proceed
                   to Auction, the Debtors, after consultation with the Consultation Parties and subject
                   to the exercise of the Sale Option, shall determine which Qualified Bid(s) represent
                   the then highest or otherwise best Bid(s) for all or any subset of the Lab-to-
                   Market™ Assets, as applicable (the “Baseline Bid(s)”). The determination of
                   which Qualified Bid(s) constitute the Baseline Bid(s) and which Qualified Bid(s)
                   constitute the Successful Bid(s) (as defined herein) shall take into account any
                   factors the Debtors, after consultation with the Consultation Parties and subject to
                   the exercise of the Sale Option, reasonably deem relevant to the value of the
                   Qualified Bid(s) to their estates, including, inter alia: (a) the amount and nature of
                   the consideration; (b) the certainty of closing; (c) the net economic effect of any
                   changes to the value to be received by the Debtors’ creditors from the proposed
                   Sale Transaction(s); (d) the allocation of the Purchase Price between or among Lab-
                   to-Market™ Assets; (e) tax consequences of such Qualified Bid(s); and (f) any
                   other quantitative or qualitative criteria available to assess such Bid (collectively,
                   the “Bid Assessment Criteria”). For the avoidance of doubt, the Baseline Bid(s)
                   must not be less than the Minimum Reserve Price.

                   On or before December 22, 2023, the Debtors shall file a notice on the Court’s
                   docket (an “Auction Notice”) providing (i) notice of the location of the Auction or
                   whether the Debtor’s intend to proceed with the Auction telephonically or by video
                   conference; and (ii) notice of whether the Debtors believe, in the exercise of their
                   business judgment and after consultation with the Consultation Parties, that the
                   Auction should be held in two or more parts over multiple days so as to maximize
                   value for the estates.

                   Unless otherwise designated by the Debtors, after consultation with the
                   Consultation Parties, the Auction shall commence at 10:00 a.m. (Eastern Time) on
                   January 19, 2024, at a location to be designated in the Auction Notice. In the
                   Debtors’ discretion, the Auction may be held telephonically or by video conference.

                   The Auction shall be conducted according to the following procedures:

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                   (i)         Participation at the Auction. Only the Stalking Horse Bidder(s) and
                               Qualified Bidders that have submitted Qualified Bids are eligible to
                               participate at the Auction. Only the authorized representatives and
                               professional advisors of each of the Qualified Bidders, the Stalking Horse
                               Bidder(s), the Debtors, the Consultation Parties, and the United States
                               Trustee for the District of Delaware shall be permitted to attend the Auction.

                               Except as otherwise set forth herein, the Debtors, after consultation with the
                               Consultation Parties, may conduct the Auction in the manner they
                               determine will result in the highest or best offer(s) for the Lab-to-Market™
                               Assets in accordance with the Bid Procedures, including sequencing the sale
                               of any Lab-to-Market™ Assets.

                               In the event, after the conclusion of the Auction, that certain discrete Lab-
                               to-Market™ Assets which are not included in the Successful Bid(s) have
                               not been sold (the “Unsold Assets”), the Debtors may, in the exercise of
                               their business judgment and after consultation with the Consultation Parties,
                               resume an auction for the sale of the Unsold Assets, on such bid procedures
                               as may be implemented by the Debtors after consultation with the
                               Consultation Parties.

                   (ii)        The Debtors Shall Conduct the Auction. The Debtors and their
                               professionals shall direct and preside over the Auction. At the start of the
                               Auction, the Debtors shall describe the terms of any Baseline Bid(s). All
                               Bids made thereafter shall be Overbids (as defined herein) and shall be
                               made and received on an open basis, and all material terms of each Bid shall
                               be fully disclosed to all other Qualified Bidders. The Debtors reserve the
                               right to conduct the Auction, after consultation with the Consultation
                               Parties, in the manner designed to maximize value based upon the nature
                               and extent of the Qualified Bids received in accordance with the Bid
                               Procedures, the Bid Procedures Order, the Bankruptcy Code, and any other
                               order of the Court entered in connection herewith and disclosed to each
                               Qualified Bidder. The Debtors shall maintain a transcript of all Bids made
                               and announced at the Auction, including the Baseline Bid(s), all Overbids,
                               and the Successful Bid(s). Pursuant to Local Rule 6004-1, each Qualified
                               Bidder shall be required to confirm that it has not engaged in any collusion
                               with respect to the Sale Process, the Bid Procedures, the Auction, or the
                               proposed Sale Transaction(s).

                   (iii)       Terms of Overbids. An “Overbid” is any Bid made at the Auction by a
                               Qualified Bidder subsequent to the Debtors’ announcement of the
                               applicable Baseline Bid(s) that satisfies the following conditions:

                          a.      Minimum Increment. During the Auction, bidding shall begin with the
                                  Baseline Bid. Due to the potential combinations of Lab-to-Market™
                                  Assets that may be included in any Bid, the Debtors reserve all rights
                                  with respect to the comparison of Qualified Bids and the determination

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                                  of the Baseline Bid(s) subject to the exercise of the Sale Option and the
                                  rights of the Consultation Parties as provided for herein. The initial
                                  Overbid after the Baseline Bid (the “Initial Overbid”) shall be made in
                                  an increment announced on the record prior to the start of the Auction
                                  (the “Minimum Increment”). Any Overbids subsequent to the Initial
                                  Overbid shall be made in increments of at least the applicable Minimum
                                  Increment.
                                  Any Overbid made by a Qualified Bidder must remain open and binding
                                  on the Qualified Bidder until and unless the Debtors, after consultation
                                  with the Consultation Parties, accept a higher Qualified Bid as an
                                  Overbid.
                          b.      Consideration of Overbids. Subject to compliance with the terms of the
                                  DIP Orders, the Debtors reserve the right, after consultation with the
                                  Consultation Parties, to make one or more adjournments in the Auction
                                  to, among other things: facilitate discussions between the Debtors and
                                  individual Qualified Bidders; allow individual Qualified Bidders to
                                  consider how they wish to proceed; and give Qualified Bidders the
                                  opportunity to provide the Debtors with such additional evidence as the
                                  Debtors, in the exercise of their business judgment and after
                                  consultation with the Consultation Parties, may require, that the
                                  Qualified Bidder has sufficient internal resources or has received
                                  sufficient non-contingent debt and/or equity funding commitments, to
                                  consummate the proposed Sale Transaction at the prevailing Overbid
                                  amount.
                          c.      Closing Evidence. To the extent not previously provided on or before
                                  the Bid Deadline, a Qualified Bidder submitting an Overbid must
                                  submit, as part of its Overbid, evidence reasonably acceptable to the
                                  Debtors, after consultation with the Consultation Parties, demonstrating
                                  such Qualified Bidder’s ability to close the Sale Transaction proposed
                                  by such Overbid.
                   (iv)        Additional Procedures.         The Debtors, after consultation with the
                               Consultation Parties, may (a) determine which Qualified Bid or Qualified
                               Bids, if any, is the highest or best offer for all Lab-to-Market™ Assets or
                               any of the Lab-to-Market™ Assets and (b) reject at any time before entry
                               of an order of the Court approving a Sale Transaction of all or any portion
                               of the Lab-to-Market™ Assets pursuant to a Qualified Bid, any Bid that is
                               (i) inadequate or insufficient; (ii) not in conformity with the requirements
                               of the Bankruptcy Code, the Bid Procedures, or the Bid Procedures Order;
                               or (iii) contrary to the best interest of the Debtors, their estates, and their
                               creditors.

                   (v)         Consent to Jurisdiction as Condition to Bidding. All Qualified Bidders at
                               the Auction shall be deemed to have consented to the core jurisdiction of
                               the Court and to have waived any right to a jury trial in connection with any
                               disputes relating to the Sale Process, the Auction, the Bid Procedures, and

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                             the construction and enforcement of each Qualified Bidder’s Contemplated
                             Transaction Documents, as applicable.

                   (vi)      Closing the Auction. The Auction shall continue until there is only one
                             Qualified Bid for all of the Lab-to-Market™ Assets or for one or more of
                             the Lab-to-Market™ Assets (or multiple, non-overlapping Qualified Bids
                             for any subsets of the Lab-to-Market™ Assets if there is no single Qualified
                             Bid for all the Lab-to-Market™ Assets) that the Debtors determine, in the
                             exercise of their business judgment and after consultation with the
                             Consultation Parties, is the highest or otherwise best Qualified Bid(s) (such
                             Qualified Bid(s), the “Successful Bid(s)”, and such Qualified Bidder(s), the
                             “Successful Bidder(s)”), and that further bidding is unlikely to result in a
                             higher or otherwise better Qualified Bid, at which point, the Auction will
                             be closed. The Auction shall not close unless and until all Qualified Bidders
                             have been given a reasonable opportunity to submit an Overbid at the
                             Auction. In selecting the Successful Bid, the Debtors, after consultation
                             with the Consultation Parties, may consider all factors relevant to the sale
                             of the Lab-to-Market™ Assets, including the Bid Assessment Criteria. To
                             the extent the Qualified Bid from the DIP Lenders and the Foris Prepetition
                             Secured Lenders is not the Successful Bid, it shall be deemed to be the
                             Back-Up Bid.

                             Upon the closing of the Auction, the Debtors, after consultation with the
                             Consultation Parties and subject to the exercise of the Sale Option, shall
                             identify the Successful Bidder(s) and the Successful Bid(s) and the Back-
                             Up Bidder(s) and Back-Up Bid(s) as soon as reasonably practicable which
                             highest or best offer will provide the greatest amount of net value to the
                             Debtors, and advise the Qualified Bidders of such determination. Due to
                             the potential combinations of Lab-to-Market™ Assets that may be included
                             in any Bid, the Debtors reserve all rights with respect to the comparison of
                             Qualified Bids and the determination of the Successful Bidder(s) and Back-
                             Up Bidder(s) (as defined herein).

                             The Qualified Bidder with the second highest or otherwise best Bid at the
                             Auction, as determined by the Debtors after consultation with the
                             Consultation Parties, shall be required to serve as the back-up bidder (the
                             “Back-Up Bidder(s)”). The identity of the Back-Up Bidder(s) and the
                             amount and material terms of the final Bid of the Back-Up Bidder(s) (the
                             “Back-Up Bid(s)”) shall be announced by the Debtors at the conclusion of
                             the Auction at the same time the Debtors announce the Successful Bid(s).
                             Any Back-Up Bidder shall keep its Back-Up Bid open and irrevocable until
                             the Closing of the Sale Transaction with the Successful Bidder. The Good
                             Faith Deposit of the Back-Up Bidder(s) shall be returned by the Debtors
                             within three (3) days after Closing.

                             Within one (1) business day after the close of the Auction, the Successful
                             Bidder(s) shall supplement the Successful Bidder(s)’ Good Faith Deposit(s)

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                             such that the Good Faith Deposit(s) shall be equal to an amount that is ten
                             percent (10%) of the Purchase Price of the Successful Bid(s).

                             The Debtors shall not consider any Bids or Overbids submitted after the
                             closing of the Auction and any and all such Bids and Overbids shall be
                             deemed untimely.

                             As stated above, the Successful Bid(s) of the Successful Bidder(s) and the
                             Back-Up Bid(s) of the Back-Up Bidder(s), respectively, must be irrevocable
                             until Closing.

C.       Procedures Related to the Assumption and Assignment or Transfer of Contracts

         35.       With respect to (a) the Debtors’ identification and notice of executory contracts and

unexpired leases that may be assumed, assumed and assigned, or transferred by the Debtors

pursuant to a plan or sale (the “Potential Assumed/Assigned Contracts”) and the amount, if any,

the Debtors believe is necessary to cure all monetary defaults under such Potential

Assumed/Assigned Contracts pursuant to section 365 of the Bankruptcy Code (the “Cure

Amounts”); and (b) the procedures and deadlines for the non-Debtor counterparties to such

Potential Assumed/Assigned Contracts (the “Contract Counterparties”) to object to the Cure

Amounts and/or the assumption, assumption and assignment, or transfer of their Potential

Assumed/Assigned            Contracts   (a   “Contract    Objection”),   to   the   extent    a   Potential

Assumed/Assigned Contract is a Transferred Contract pursuant to a proposed Sale of Lab-to-

Market™ Assets, the Debtors request that any Contract Objections be heard at (a) the Sale Hearing

or (b) on such other date subsequent to the Sale Hearing as the Court may designate prior to,

during, or after the Sale Hearing (the “Cure/Assignment Hearing”). Any Additional Contract

Objections (as defined in the Contract and Lease Procedures) will be resolved at a hearing to be

held by the Court (a) on or before seven (7) calendar days from the timely filing of the Additional

Contract Objection; (b) at the Cure/Assignment Hearing; or (c) such other date designated by the

Court.


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         36.       Upon determination of the Successful Bid(s), on or before January 21, 2024, the

Debtors will file a Notice of Successful Bidder with the Court. Any Contract Counterparty to a

Transferred Contract seeking additional assurance of future performance than that provided by the

Successful Bidder(s) (the “Adequate Assurance Objection”) should immediately contact Steven

W. Golden (sgolden@pszjlaw.com) and the applicable Successful Bidder to attempt to resolve any

Adequate Assurance Objection. All Adequate Assurance Objections must be filed and served on

the Notice Parties (as defined in the Bid Procedures) and the applicable Successful Bidder no later

than January 23, 2024, at 5:00 p.m. (prevailing Eastern Time). To the extent the parties are

unable to consensually resolve the Adequate Assurance Objection prior to Closing, the Court will

set a hearing on the Adequate Assurance Objection to determine whether terms of the Successful

Bid are compliant with section 365 of the Bankruptcy Code in providing adequate assurance of

future performance to the Contract Counterparty of the applicable Transferred Contract, which

may be at the Sale Hearing. The Debtors intend to cooperate with Contract Counterparties to

Transferred Contracts to attempt to reconcile any Adequate Assurance Objection.

         37.       At the Sale Hearing, (a) the Successful Bidder(s) shall present evidence necessary

to demonstrate adequate assurance of future performance by the Successful Bidder(s) with respect

to the Transferred Contracts and (b) the Debtors will request entry of an order approving the

assumption and assignment of any or all Potential Assumed/Assigned Contracts to be assumed by

the applicable Debtors and assigned to the Successful Bidder(s). For the foregoing reasons, the

Debtors believe that granting the relief requested herein is appropriate and in the best interests of

all parties-in-interest.




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D.       Scheduling and Notice

         38.       Pursuant to the terms of the Plan Support Agreement and the DIP Facility, the

Debtors are required to (i) obtain entry of the Bid Procedures Order by no later than December

20, 2023, and (ii) obtain entry of an order approving the Sale(s), no later than January 25, 2024.

In addition, the terms of the DIP Facility requires that the Closing occur no later than February

9, 2024.

         39.       Given the marketing and diligence period to be established by the Bid Procedures,

the proposed timeline is sufficient to complete a fair and open sale process that will maximize the

value received for the Lab-to-Market™ Assets while complying with the milestones established

by the DIP Facility. The proposed timeline will provide all Potential Bidders with sufficient time

to perform due diligence given that the process is well understood at this juncture and all relevant

materials are readily available.          Thus, the schedule proposed above will allow for the

consummation of the Sale Transactions(s) as quickly as possible and in a manner designed to

maximize the value received for the Lab-to-Market™ Assets.

         40.       Notice of Motion. On the date the notice of this Motion is filed or as soon as is

practicable thereafter, the Debtors will cause this Motion and all exhibits hereto, the Bid

Procedures, and a copy of the proposed Bid Procedures Order, to be served upon (a) the Office of

the U.S. Trustee for the District of Delaware, 844 King Street, Suite 2207, Lock Box 35,

Wilmington, Delaware, 19801, Attn: John Schanne, Esq. (John.Schanne@usdoj.gov); (b) counsel

to the Committee, White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020-1095;

Attn:     Gregory        Pesce,   Esq.   (gregory.pesce@whitecase.com),    Andrew   O’Neill,   Esq.

(aoneill@whitecase.com), and John Ramirez, Esq. (john.ramirez@whitecase.com); and co-

counsel to the Committee, Potter Anderson & Corroon LLP, 1313 North Market Street, 6th Floor,



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Wilmington, DE 19801; Attn: Christopher M. Samis, Esq. (csamis@potteranderson.com), Katelin

A.       Morales,           Esq.       (kmorales@potteranderson.com),         Sameen    Rizvi,   Esq.

(srizvi@potteranderson.com); (c) counsel to the DIP Lenders, DIP Agent and the Foris Prepetition

Secured Lenders, Goodwin Procter LLP, 620 Eighth Avenue, New York, NY 10018, Attn:

Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com), Alexander J. Nicas, Esq.

(anicas@goodwinlaw.com), and Debora A. Hoehne, Esq. (dhoehne@goodwinlaw.com); (d) co-

counsel to the DIP Lenders, the DIP Agent and the Foris Prepetition Secured Lenders, Troutman

Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709,

Wilmington, DE 19899; Attn: David M. Fournier, Esq. (david.fournier@troutman.com); (e)

counsel for the Ad Hoc Noteholder Group, Paul Hastings LLP, 1999 Avenue of the Stars, Twenty-

Seventh        Floor,        Century      City,   CA        90067,   Attn.:    Frank   Merola,   Esq.

(frankmerola@paulhastings.com); Paul Hastings LLP, 200 Park Avenue, New York, NY 10166,

Attn.: John F. Storz, Esq. (johnstorz@paulhastings.com); and Blank Rome, 1201 N. Market Street,

Suite 800, Wilmington, DE 19801, Attn.: Stanley B. Tarr, Esq. (stanley.tarr@blankrome.com); (f)

the United States Attorney’s Office for the District of Delaware; (g) the state attorneys general for

all states in which the Debtors conduct business; (h) the Securities Exchange Commission; (i) all

parties reasonably known to the Debtors that assert liens, claims, and encumbrances, and other

interests with respect to the Lab-to-Market™ Assets; (j) all entities known to have expressed an

interest in bidding on the Lab-to-Market™ Assets; (k) the Internal Revenue Service, the Securities

and Exchange Commission, and any other federal, state or local governmental agency to the extent

required by the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, or order of the Court;

and (l) any party that requests service pursuant to Bankruptcy Rule 2002 (collectively, the “Sale

Notice Parties”).



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         41.       Notice of Bid Procedures. Within two (2) calendar days of the entry of the Bid

Procedures Order, or as soon thereafter as practicable, the Debtors shall cause to be served, by

first-class mail, postage prepaid, a notice (the “Bid Procedures Notice”) setting forth, among other

things, the dates established for submission of Qualified Bids, the Auction, and the Sale Hearing,

substantially in the form attached to the Bid Procedures Order as Exhibit 2, upon the Sale Notice

Parties and all of the Debtors’ known creditors.

         42.       Notice of Successful Bidder(s). Following the Auction but not later than January

21, 2024, subject to the exercise of the Sale Option, the Debtors will promptly file with the Court

a notice (the “Notice of Successful Bidder”), that will inform the Court of the results of the

Auction. The Notice of Successful Bidder will identify, among other things: (a) the Successful

Bidder(s) as the proposed purchaser(s) of the Lab-to-Market™ Assets; (b) the amount and form of

consideration to be paid by the Successful Bidder(s) for the Lab-to-Market™ Assets; (c) the

liabilities to be assumed by the Successful Bidder(s); and (d) the Potential Assumed/Assigned

Contracts to be assumed by the Debtors and assigned to the Successful Bidder(s), or the Debtors’

rights and interests therein sold and transferred to the Successful Bidder(s), as the case may be, in

connection with the Sale Transaction(s) (i.e., the Transferred Contracts).10                        The Notice of

Successful Bidder will also include similar information relating to the Back-Up Bidder(s) and the

Back-Up Bid(s). In addition, the Debtors will attach to the Notice of Successful Bidder: (a) the

Sale Order(s) approving the Sale(s) to the Successful Bidder(s); (b) a copy of the Purchase

Agreement(s) entered into by the Debtors and the Successful Bidder(s) following the Auction; and

(c) any additional information or documentation relevant to the Successful Bid(s). The Debtors



10
     For the avoidance of doubt, the identification of the Transferred Contracts in the Notice of Successful Bidder may
     be accomplished through the attachment of any relevant schedule(s) to the Purchase Agreement(s) attached to
     such notice.

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will file the Notice of Successful Bidder on the docket for these Chapter 11 Cases as promptly as

is reasonably practicable prior to the Sale Hearing but will not be required to serve the same on

any parties-in-interest in these Chapter 11 Cases.

E.       Sale Order

         43.       To ensure the Debtors are in compliance with the terms of the DIP Facility, the

Debtors request that this Court set the Sale Hearing at the same time as the hearing regarding

Confirmation of the Plan, currently scheduled for January 24, 2024, at 10:00 a.m. (prevailing

Eastern Time). At the Sale Hearing, if the Sale Option is exercised, the Debtors intend to seek the

entry of the Sale Order, which may be connection with confirmation of the Plan: (a) approving the

Sale(s) free and clear of all Encumbrances, and (b) authorizing the assumption and assignment or

transfer of the Transferred Contracts, among other things.11 Pursuant to the Sale Order, the Debtors

will sell any Lab-to-Market™ Assets that are the subject of a Sale Transaction free and clear of all

Encumbrances to the fullest extent possible pursuant to section 363(f) of the Bankruptcy Code

(except for those Assumed Liabilities and obligations expressly assumed by the Successful

Bidder(s)), and the Successful Bidder(s) will be protected from liability for and cannot be pursued

for any claims owed by the Debtors, except as otherwise agreed by the Successful Bidder(s) and

the Debtors or as set forth in the Sale Order. In addition, the Sale Order will have findings that the

Sale(s) is not a fraudulent conveyance. The Bid Procedures provide proper and adequate notice

for these and the other terms and conditions of the bidding, Auction, and Sale Processes.




11
     To the extent the Debtors seek to consummate more than one Sale Transaction, the Debtors reserve the right to
     seek the entry of multiple Sale Orders in accordance with these procedures.

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                                    BASIS FOR RELIEF REQUESTED

A.       Approval of the Sale(s) Is Warranted Under Section 363(b) of
         the Bankruptcy Code and the Bid Procedures Are Appropriate and
         in the Best Interests of the Debtors’ Estates and their Creditors

         44.       Section 363(b)(1) of the Bankruptcy Code provides that the “trustee, after notice

and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate. . . . “12 Section 105(a) of the Bankruptcy Code further provides, in relevant part, that “[t]he

court may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.”

         45.       A debtor may be authorized to sell assets outside of the ordinary course of business

pursuant to section 363 of the Bankruptcy Code if it demonstrates a sound business purpose for

doing so.13

         46.       Indeed, the paramount goal of a chapter 11 process is to maximize the proceeds

received by the estate.14 To that end, courts have recognized that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received by the estate of




12
     11 U.S.C. § 363(b)(1).
13
     See In re Fed. Mogul Glob., Inc., 293 B.R. 124, 126 (D. Del . 2003) (finding that a court should approve a debtor’s
     use of assets outside ordinary course of business if debtor can demonstrate a sound business justification for
     proposed transaction); see also In re Montgomery Ward Holding Corp., 242 B.R. 147, 154 (Bankr. D. Del. 1999)
     (finding that the debtor’s sound business purpose justified its sale of the assets outside of the ordinary course of
     business).
14
     See Four B. Corp. v. Food Barn Stores, Inc. (In re Food Barn Stores, Inc.), 107 F.3d 558, 564-65 (8th Cir. 1997)
     (“[A] primary objective of the [Bankruptcy] Code [is] to enhance the value of the estate at hand.”); In re Abbotts
     Dairies of Pennsylvania, Inc., 788 F.2d 143, 149 (3d Cir. 1986) (noting the fairness and reasonableness of prices);
     Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650,
     659 (S.D.N.Y. 1992) (“It is a well-established principle of bankruptcy law that the . . . debtor’s duty . . . is to
     obtain the highest price or greatest overall benefit possible for the estate.”) (quoting Cello Bag Co. v. Champion
     Intl Corp. (In re Atlanta Packaging Prods., Inc.), 99 B.R. 124, 131 (Bankr. N.D. Ga. 1988)); In re Summit Glob.
     Logistics, Inc., No. 08-11566, 2008 Bankr. LEXIS 896, at *43 (Bankr. D.N.J. Mar. 26, 2008) (describing a
     proposed transaction as one that “maximize[d] value and return to interested parties.”).

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a debtor and therefore are appropriate.15 With this in mind, courts have deferred to a debtor’s

business judgment in the context of bidding and auction procedures.16

         47.       In exercising its fiduciary duties and in the sound exercise of their business

judgment, the Debtors have determined that the Bid Procedures encourage competing bids that

will facilitate maximizing creditor recoveries and that will ensure the value received for their Lab-

to-Market™ Assets is the highest or best the market can generate.

         48.       The Bid Procedures provide a framework to facilitate and entertain bids for the

purchase of any or all of the Debtors’ Lab-to-Market™ Assets and, if multiple bids are received,

to conduct an Auction in an orderly yet competitive fashion, thereby encouraging bids that

maximize the value realized from a Sale of the Lab-to-Market™ Assets. In particular, the Bid

Procedures contemplate an open and fair auction process with minimum barriers to entry and

provide Bidders with sufficient time to perform due diligence and to acquire the information

necessary to submit a timely and well-informed bid.

         49.       The Bid Procedures provide the Debtors with an adequate opportunity to consider

competing bids and, subject to the exercise of the Sale Option, select the highest or best offer(s)

for the purchase of any or all of the Debtors’ Lab-to-Market™ Assets. The Debtors therefore




15
     See, e.g., In re Dura Auto. Sys., 379 B.R. 257, 263 (Bankr. D. Del. 2017); Integrated Res., 147 B.R. at 659
     (providing that such procedures “encourage bidding and to maximize the value of the debtor’s assets.”); In re Fin.
     News Network Inc., 126 B.R. 152, 156 (S.D.N.Y. 1991) (“[C]ourt-imposed rules for the disposition of assets
     [should] provide an adequate basis for comparison of offers, and [should] provide for a fair and efficient resolution
     of bankrupt estate.”).
16
     See, e.g., In re Culp, 550 B.R. 683, 697 (D. Del. 2015) (“‘In determining whether to authorize use, sale or lease
     of property of the estate under Section 363, courts require the [Debtor] to show that a sound business purpose
     justifies such actions.’ If the [Debtor’s] decision evidences a sound business purpose, then the Bankruptcy Court
     should approve the sale.” (quoting In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999));
     In re Trans World Airlines Inc., No. 01-0056, 2001 Bankr. LEXIS 980, at *29 (Bankr. D. Del. Apr. 2, 2001) (“It
     is not the function of a bankruptcy court to independently exercise a business judgment as to which proposal
     among competing proposals should be adopted by the debtor in effecting a § 363(b) sale.”).

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believe that submitting the purchase of their Lab-to-Market™ Assets to a market-based test will

facilitate the resolution of these cases on the terms set forth in the Plan.

         50.       Similar bidding, auction, and notice procedures have been previously approved by

this Court in other chapter 11 cases. See, e.g., In re PhaseBio Pharms., Inc., No. 22-10995 (LSS)

(Bankr. D. Del. Nov. 28, 2022); In re Genapsys, Inc., No. 22-10621 (BLS) (Bankr. D. Del.

Aug. 17, 2022); In re SanityDesk, Inc., No. 22-10527 (JTD) (Bankr. D. Del. Aug. 3, 2022); In re

Enjoy Tech., Inc., No. 22-10580 (JKS) (Bankr. D. Del. July 26, 2022); In re Hamon Holdings

Corp., No. 22-10375 (JTD) (Bankr. D. Del. July 13, 2022); In re Healthe, Inc., No. 21-11567

(MFW) (Bankr. D. Del. Mar. 21, 2022); In re Wardman Hotel Owner, L.L.C., No. 21-10023 (JTD)

(Bankr. D. Del. June 15, 2021); In re MobiTV, Inc., No. 21-10457 (LSS) (Bankr. D. Del.

Apr. 7, 2021); In re EHT US1, Inc., No. 21-10036 (CSS) (Bankr. D. Del. Mar. 24, 2021); In re RTI

Holding Co., LLC, No. 20-12456 (JTD) (Bankr. D. Del. Nov. 20, 2020); In re BL Rests. Holding,

LLC, No. 20-10156 (MFW) (Bankr. D. Del. Feb. 28, 2020); In re Forever 21, Inc., No. 19-12122

(KG) (Bankr. D. Del. Feb. 4, 2020).17

         51.       In sum, the Debtors believe that the proposed Bid Procedures create an appropriate

framework for expeditiously considering an alternative transaction to the reorganization of the

Debtors through the Plan by soliciting the best and highest offers for their Lab-to-Market™ Assets.

Accordingly, the proposed Bid Procedures are reasonable, appropriate, and within the Debtors’

sound business judgment under the circumstances.




17
     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
     Copies of these orders are available upon request of the Debtors’ counsel.

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B.       The Purchased Assets Should be Sold Free and Clear of Liens, Claims, and
         Encumbrances Pursuant to Section 363(f) of the Bankruptcy Code

         52.       In the interest of attracting the best offers, the Debtors request authorization to sell

their Lab-to-Market™ Assets free and clear of any and all Encumbrances in accordance with

section 363(f) of the Bankruptcy Code, with any such Encumbrances attaching to the proceeds of

the Sale(s) of the Lab-to-Market™ Assets and distributed as provided for in a further order of the

Bankruptcy Court.

         53.       Under section 363(f) of the Bankruptcy Code, a debtor may sell estate property free

and clear of liens, claims, encumbrances, and other interests if one of the following conditions is

satisfied: (a) applicable non-bankruptcy law permits sale of such property free and clear of such

interest; (b) such entity consents; (c) such interest is a lien and the price at which such property is

to be sold is greater than the aggregate value of all liens on such property; (d) such interest is in

bona fide dispute; or (e) such entity could be compelled, in a legal or equitable proceeding, to

accept a money satisfaction of such interest.18 Because section 363(f) of the Bankruptcy Code is

written in the disjunctive, satisfaction of any one of its five requirements will suffice to permit the

sale of the Assets “free and clear” of liens, claims, encumbrances, and other interests.19

         54.       Furthermore, section 105(a) of the Bankruptcy Code grants the court broad

discretionary powers, providing that “[t]he Court may issue any order, process or judgment that is

necessary or appropriate to carry out the provisions” of the Bankruptcy Code. This equitable

power may be utilized to effectuate the provisions of section 363(f).20



18
     11 U.S.C. § 363(f).
19
     See, e.g., In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002); In re Dundee Equity Corp., No.
     89-B-10233, 1992 Bankr. LEXIS 436, at *12 (Bankr. S.D.N.Y. Mar. 6, 1992).
20
     See, e.g., In re Trans World Airlines, Inc., 2001 Bankr. LEXIS 723, at *18–19 (Bankr. D. Del. Mar. 27, 2001)
     (highlighting bankruptcy courts’ equitable authority to authorize sale of estate assets free and clear).

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         55.       The Debtors will demonstrate at the Sale Hearing that the Sale(s) satisfies the

requirements of section 363(f). Accordingly, the Debtors request authorization to sell their Lab-

to-Market™ Assets free and clear of all Encumbrances.

C.       Successful Bidders Should Be Entitled to the Protections
         of Section 363(m) of the Bankruptcy Code

         56.       Pursuant to section 363(m) of the Bankruptcy Code, a good faith purchaser is one

who purchases assets for value, in good faith, and without notice of adverse claims.21 As noted

above, any Purchase Agreement executed by a Successful Bidder will have been negotiated at

arm’s-length and in good faith in accordance with the Bid Procedures and Bid Procedures Order,

with each of the parties represented by its own advisors and counsel. Accordingly, the Debtors

request that the Sale Order include a provision that any Successful Bidder(s) for the Debtors’ Lab-

to-Market™ Assets is a “good faith” purchaser within the meaning of section 363(m) of the

Bankruptcy Code.            The Debtors maintain that providing the Successful Bidders with such

protection will ensure that the maximum price will be received by the Debtors for the Lab-to-

Market™ Assets.

D.       Assumption and Assignment or Transfer of Certain Executory Contracts
         and Unexpired Leases Should be Authorized

         57.       To enhance the value of the Debtors’ estates, the Debtors request authority under

section 365 of the Bankruptcy Code to assume and assign or transfer the Transferred Contracts to

the Successful Bidder(s). The Debtors further request that the Sale Order provide that the

Transferred Contracts will be transferred to, and remain in full force and effect for the benefit of,

the Successful Bidder(s) notwithstanding any provisions in such assigned contracts and/or leases,



21
     See, e.g., In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3d Cir. 1986); Miami Ctr. Ltd. P’ship
     v. Bank of New York, 838 F.2d 1547, 1554 (11th Cir. 1988); In re Mark Bell Furniture Warehouse, Inc., 992 F.2d
     7, 9 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985).

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including those described in sections 365(b)(2), (f)(1), and (f)(3) of the Bankruptcy Code, that

prohibit such assignments.

          58.      A debtor may, subject to court approval, assume and assign executory contracts and

unexpired leases under section 365(a) of the Bankruptcy Code. Courts routinely approve motions

to assume and assign executory contracts or unexpired leases upon a showing that a debtor’s

decision to take such action will benefit the debtor’s estate and is an exercise of sound business

judgment.22 The assumption and assignment of the Transferred Contracts related to the Lab-to-

Market™ Assets is an integral component of any Sale, without which a Sale would not be a viable

option.

          59.      Section 365(b)(1) of the Bankruptcy Code requires that, if there has been a default

in a debtor’s unexpired lease or executory contract, other than certain nonmonetary defaults as set

forth in the statute, such unexpired lease or executory contract may not be assumed unless, at the

time of the assumption, (a) such default is cured or there is adequate assurance that such default

will be cured, (b) compensation or adequate assurance of compensation is provided for any actual

pecuniary loss resulting from such default, and (c) adequate assurance of future performance under

the lease is provided.23 The meaning of “adequate assurance of future performance” depends on

the facts and circumstances of each case but should be given “practical, pragmatic construction.”24

          60.      As set forth above, the Debtors will send a Cure Notice and Additional Cure Notice,

as applicable, to all Contract Counterparties to the Potential Assumed/Assigned Contracts

notifying such Contract Counterparties of the potential assumption, assumption and assignment,


22
     In re Fleming Co. Inc., 499 F.3d 300, 305 (3d Cir. 2007).
23
     11 U.S.C. § 365(b)(1).
24
     EBG Midtown South Corp. v. McLaren/Hart Env. Eng’ g Corp. (In re Sanshoe Worldwide), 139 B.R. 585, 593
     (S.D.N.Y. 1992); see also In re Fleming Co. Inc., 499 F.3d at 305; Cinicola v. Scharffeberger, 248 F.3d 110, 120
     (3d Cir. 2001).

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or transfer of such contract and/or lease, including pursuant to a Sale of Lab-to-Market™ Assets.

The Cure Notice and Additional Cure Notice, as applicable, will also set forth the Cure Amount,

if any, owing for all such contracts and/or leases according to the Debtors’ books and records.

         61.       Contract Counterparties to Potential Assumed/Assigned Contracts will be given

sufficient time (as set forth herein and in the Contract and Lease Procedures Motion) to object to

the proposed Cure Amounts, if any, set forth in the Cure Notice. If no objection is filed with regard

to a particular Cure Amount and the Potential Assumed/Assigned Contract is a Transferred

Contract pursuant to a proposed Sale of Lab-to-Market™ Assets, such Cure Amount shall be

binding on the Debtors, the Successful Bidder(s), and the applicable Contract Counterparty. The

payment of the Cure Amounts specified in the Cure Notice or Additional Cure Notice (or a

different amount, either agreed to by the Debtors or resolved by this Court as a result of a timely-

filed objection by the relevant Contract Counterparty) will be in full and final satisfaction of all

obligations to cure defaults and compensate the Contract Counterparties for any pecuniary losses

under the applicable Transferred Contracts pursuant to section 365(b)(1) of the Bankruptcy Code,

unless the Debtors determine, before the Sale Hearing, that a particular lease or contract is not

executory or unexpired, and does not need to be cured to transfer the Lab-to-Market™ Assets to

the relevant Successful Bidder.

         62.       Section 365(f) of the Bankruptcy Code states that a debtor may assign its unexpired

leases and executory contracts if, inter alia, the assignee provides “adequate assurance of future

performance.”25 If necessary, the Successful Bidder(s) must submit, among other things, written

evidence of the ability to provide adequate assurance of future performance under the applicable

contracts or leases as set forth above and in the Bid Procedures Order. The affected Contract


25
     11 U.S.C. § 365(f)(2)(B).

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Counterparties will also be able to challenge the ability of the Successful Bidder(s) to provide

adequate assurance as provided in the Bid Procedures Order.

         63.       Any assumption and assignment or transfer of the Transferred Contracts will be

subject to all of the provisions of such contract and/or lease, to the extent required by applicable

law and in accordance with applicable provisions of the Bankruptcy Code. The Bid Procedures

are designed to ensure that any Successful Bidder(s) is financially able and prepared to undertake

all of the relevant obligations under the Transferred Contracts. The Debtors, together with the

relevant Successful Bidder, will establish, as necessary, at the Sale Hearing, the requisite adequate

assurance of future performance pursuant to section 365 of the Bankruptcy Code with respect to

the potential assumption and assignment or transfer of the applicable Transferred Contracts.

Consequently, assumption and assignment of the Transferred Contracts in connection with the

Sale(s) is appropriate under the circumstances.

E.       The Proposed Notices Are Appropriate Under Bankruptcy Rule 2002

         64.       The notices contemplated by the Bid Procedures give notice of the proposed Sale

Process including a disclosure of the time, place, and methodology of the Auction, the terms and

conditions for being a Qualified Bidder, the necessary terms to be included in any proposed Sale

Transaction(s), and the deadline for filing any objections to the Sale Process or any part thereof.

The Debtors submit that the notice procedures comply with Bankruptcy Rule 2002 and include

information regarding the Bid Procedures necessary to enable interested Bidders to participate in

the Auction and constitute good and adequate notice of the Bid Procedures and the other

components of the Sale Process. Therefore, the Debtors respectfully request that this Court

approve the proposed notice procedures.




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F.       Relief from Bankruptcy Rules 6004(h) and 6006(d) is Appropriate

         65.       Under Bankruptcy Rule 6004(h), unless the court orders otherwise, all orders

authorizing the sale of property pursuant to section 363 of the Bankruptcy Code are automatically

stayed for fourteen (14) days after entry of the order. The purpose of Bankruptcy Rule 6004(h) is

to provide sufficient time for an objecting party to appeal before the order is implemented.26

Similarly, Bankruptcy Rule 6006(d) stays all orders authorizing a debtor to assign an executory

contract or unexpired lease pursuant to section 365(f) of the Bankruptcy Code for fourteen (14)

days, unless the court orders otherwise.

         66.       To preserve the value of the Debtors’ estates and limit the costs of administering

and preserving the Lab-to-Market™ Assets, it is critical that the Debtors close the Sale(s) of the

Lab-to-Market™ Assets as soon as possible after all closing conditions have been met or waived.

Accordingly, the Debtors hereby request that the Court waive the fourteen (14) day stay periods

under Bankruptcy Rules 6004(h) and 6006(d).

                                          NO PRIOR REQUEST

         67.       No prior request for the relief sought in this Motion has been made to this or any

other court.

                                                  NOTICE

         68.       The Debtors will provide notice of this Motion to: (a) the Office of the U.S. Trustee

for the District of Delaware, 844 King Street, Suite 2207, Lock Box 35, Wilmington, Delaware,

19801, Attn: John Schanne, Esq. (John.Schanne@usdoj.gov); (b) counsel to the Committee, White

& Case LLP, 1221 Avenue of the Americas, New York, NY 10020-1095; Attn: Gregory Pesce,

Esq. (gregory.pesce@whitecase.com), Andrew O’Neill, Esq. (aoneill@whitecase.com), and John


26
     See Advisory Committee Notes to Fed. R. Bankr. P. 6004(h).

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Ramirez, Esq. (john.ramirez@whitecase.com); and co-counsel to the Committee, Potter Anderson

& Corroon LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801; Attn: Christopher

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(kmorales@potteranderson.com), Sameen Rizvi, Esq. (srizvi@potteranderson.com); (c) counsel

to the DIP Lenders, DIP Agent and the Foris Prepetition Secured Lenders, Goodwin Procter LLP,

620 Eighth Avenue, New York, NY 10018, Attn: Michael H. Goldstein, Esq.

(mgoldstein@goodwinlaw.com), Alexander J. Nicas, Esq. (anicas@goodwinlaw.com), and

Debora A. Hoehne, Esq. (dhoehne@goodwinlaw.com); (d) co-counsel to the DIP Lenders, the DIP

Agent and the Foris Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP,

Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn:

David M. Fournier, Esq. (david.fournier@troutman.com); (e); counsel for the Ad Hoc Noteholder

Group, Paul Hastings LLP, 1999 Avenue of the Stars, Twenty-Seventh Floor, Century City, CA

90067, Attn.: Frank Merola, Esq. (frankmerola@paulhastings.com); Paul Hastings LLP, 200 Park

Avenue, New York, NY 10166, Attn.: John F. Storz, Esq. (johnstorz@paulhastings.com); and

Blank Rome, 1201 N. Market Street, Suite 800, Wilmington, DE 19801, Attn.: Stanley B. Tarr,

Esq. (stanley.tarr@blankrome.com); (f) the United States Attorney’s Office for the District of

Delaware; (g) the state attorneys general for all states in which the Debtors conduct business;

(h) the Securities Exchange Commission; (g) all parties reasonably known to the Debtors that

assert liens, claims, and encumbrances, and other interests with respect to the Assets; (h) all entities

known to have expressed an interest in bidding on the Assets; (j) the Internal Revenue Service, the

Securities and Exchange Commission, and any other federal, state or local governmental agency

to the extent required by the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, or order of

the Court; and (i) any party that requests service pursuant to Bankruptcy Rule 2002.



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         WHEREFORE, the Debtors respectfully request that the Court enter the Bid Procedures

Order, granting the relief requested herein, and such other and further relief as this Court deems

appropriate.

 Dated: December 14, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
                                                 Richard M. Pachulski (admitted pro hac vice)
                                                 Debra I. Grassgreen (admitted pro hac vice)
                                                 James E. O’Neill (DE Bar No. 4042)
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                                                 Counsel to the Debtors and Debtors in Possession




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                                          EXHIBIT A

                                 (Proposed Bid Procedures Order)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors. 1                          (Jointly Administered)

                                                                        Related to Docket No.

     ORDER (A) APPROVING BID PROCEDURES FOR THE SALE OF THE
  DEBTORS’ LAB-TO-MARKET™ ASSETS; (B) SETTING MINIMUM RESERVE
PRICE; (C) SCHEDULING THE AUCTION AND SALE HEARING; (D) APPROVING
THE FORM AND MANNER OF NOTICE THEREOF; AND (E) GRANTING RELATED
                              RELIEF

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of an order pursuant to sections

105(a), 363, 365, 503, 507, 1107, and 1108 of title 11 of the United States Code (the “Bankruptcy

Code”), Rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rules 2002-1 and 6004-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”)

to establish certain sales procedures which will culminate in a sale or sales of certain of the Debtors

assets, all as more fully set forth in the Motion; and upon consideration of the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this Court having found that this is a core



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.


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proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor,

        IT IS HEREBY FOUND AND DETERMINED THAT:3

        A.       The Debtors have articulated good and sufficient reasons for, and the best interests

of their estates and stakeholders will be served by, the Court scheduling or fixing dates pursuant

to this order (this “Order”) for, among other things, the (i) Bid Deadline; (ii) Sale Objection

Deadline; (iii) Auction; and (iv) Sale Hearing, each as defined below.

        B.       The Bid Procedures are fair, reasonable, and appropriate and represent the best

available method for maximizing value for the benefit of the Debtors’ estates.

        C.       The Bid Procedures were negotiated at arm’s length, in good faith, and without

collusion. The Bid Procedures balance the Debtors’ interests in emerging expeditiously from these

Chapter 11 Cases while preserving the opportunity to attract value-maximizing proposals

beneficial to the Debtors’ estates, their creditors, and other parties in interest.

        D.       The Bid Procedures Notice, Stalking Horse Notice, Auction Notice, and Notice of


3
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052. To the extent that any of the following findings of fact constitute conclusions
    of law, they are adopted as such. To the extent any of the following conclusions of law constitute findings of
    fact, they are adopted as such.

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Successful Bidder are reasonably calculated to provide the Sale Notice Parties, the Contract

Counterparties, and other interested parties with proper notice of the (i) Bid Procedures;

(ii) Auction; (iii) Sale Hearing; and (iv) Sale(s).

        E.       The Motion and the Bid Procedures comply with all applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

        F.       Due, sufficient, and adequate notice of the relief granted herein has been given to

all parties in interest.

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.       The Motion is granted as set forth herein.

        2.       All formal and informal objections, if any, to the relief requested in the Motion that

have not been withdrawn, waived, or settled are overruled on the merits.

        3.       The Bid Procedures, which are attached hereto as Exhibit 1 and incorporated herein

by reference, are hereby approved in all respects and shall govern all Bidders and Bids, including

those that may be submitted by Qualified Bidders at the Auction.

        4.       Bidders seeking to submit Bids for the Lab-to-Market™ Assets must do so in

accordance with the terms of the Bid Procedures and this Order.

        5.       The deadline for all Potential Bidders to submit a Qualified Bid (other than any of

the Secured Parties’ deemed Qualified Bid(s)) is January 16, 2024, at 5:00 p.m. (prevailing

Eastern Time) (the “Bid Deadline”), as set forth in the Bid Procedures.

        6.       By January 18, 2024, the Debtors shall file a notice on the Court’s docket (an

“Auction Notice”) providing (a) notice of the location of the Auction or whether the Debtors’

intend to proceed with the Auction telephonically or bv video conference; and (b) notice of whether

the Debtors believe, in the exercise of their business judgment and after consultation with the



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Consultation Parties, that the Auction should be held in two or more parts over multiple days so

as to maximize value for the estates.

        7.       As set forth in the Bid Procedures, if at least one Qualified Bid is received by the

Bid Deadline (in addition to any of the Secured Parties’ deemed Qualified Bid), the Debtors will

hold the Auction beginning on January 19, 2024, at 10:00 a.m. (prevailing Eastern Time), in

accordance with the Bid Procedures at the location or in the manner designated by the Debtors in

the Auction Notice.

        8.       On or before January 21, 2024, the Debtors will file with the Court and serve on

the Notice Parties (as defined below) and on all non-Debtor counterparties to Transferred Contracts

(as defined below) included in the Successful Bid(s), the Notice of Successful Bidder. With

respect to any Sale Transaction, a filed Notice of Successful Bidder shall include, as exhibits, (a)

a copy of the Purchase Agreement; (b) a copy of the proposed Sale Order; and (c) identification of

the Transferred Contracts for such Sale Transaction (which may be in the form of an exhibit or

schedule to the Purchase Agreement).4

        9.       Any Contract Counterparty to a Transferred Contract that objects to a Successful

Bidder’s provision of additional assurance of future performance (the “Adequate Assurance

Objection”) must file such Adequate Assurance Objection on or before January 23, 2024, at

5:00 p.m. (prevailing Eastern Time), and serve such objection on the Notice Parties and the

applicable Successful Bidder. To the extent the parties are unable to resolve an Adequate

Assurance Objection, the Court will set a hearing, which may be at the Sale Hearing, on the

Adequate Assurance Objection to determine whether terms of the Successful Bid are compliant



4
    The Debtors may, in their discretion, serve a Notice of Successful Bidder by U.S. Mail without attached copies
    of a Purchase Agreement and/or proposed Sale Order; provided, however, that any such Notice of Successful
    Bidder must identify where parties receiving such notice may access such documents free of charge.

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with section 365 of the Bankruptcy Code in providing adequate assurance of future performance

to the Contract Counterparty of the applicable Transferred Contract.

        10.      Any Secured Party shall be entitled to credit bid some or all of its claims pursuant

to section 363(k) of the Bankruptcy Code. Any credit bid by the DIP Agent and/or the Foris

Prepetition Secured Lenders shall automatically be deemed a Qualified Bid.

        11.      The DIP Lenders and the Foris Prepetition Secured Lenders’ Qualified Bid for the

Lab-to-Market™ Assets constitutes the Other Assets Stalking Horse Credit Bid under the Plan.

        12.      Following the conclusion of the Auction, and subject to compliance with the terms

of the DIP Order, the Sale Hearing may be adjourned or rescheduled without notice by an

announcement of the adjourned date at the Sale Hearing or by filing a notice on the Court’s docket.

At the Sale Hearing, the Debtors shall present the Successful Bid(s) to the Court for approval.

        13.      The Debtors are hereby authorized to conduct the Sale(s) without the necessity of

complying with any state or local transfer laws or requirements.

        14.      The Bid Procedures Notice substantially in the forms attached to this Order as

Exhibit 2 is approved in all respects. Other than with respect to the Notice of Successful Bidder,

no other or further notice of the Bid Procedures, the Sale Hearing, relevant objection or other

deadlines, or the Sale(s) is required.

        15.      To be considered, any objection to the Sale(s) must: (a) comply with the

Bankruptcy Rules and the Local Rules; (b) be made in writing and filed with the Court; and (c) be

filed on or before January 23, 2024, at 5:00 p.m. (prevailing Eastern Time) (the “Sale Objection

Deadline”).

        16.      The failure of any objecting person or entity to timely file an objection prior to the

Sale Objection Deadline shall be a bar to the assertion at the Sale Hearing or thereafter of any



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objection to the relief requested by the Debtors, or the consummation and performance of the

Sale(s) of the Lab-to-Market™ Assets to the Successful Bidder(s), including the transfer of the

Lab-to-Market™ Assets free and clear of all Encumbrances (with the same to attach to the cash

proceeds of the Sale(s) to the same extent and with the same order of priority, validity, force, and

effect which they previously had against the Lab-to-Market™ Assets, subject to the rights and

defenses of the Debtors and the Debtors’ estates with respect thereto), and the Debtors’ assumption

and assignment or transfer of the Transferred Contracts to the Successful Bidder(s).

         17.      No Qualified Bidder or any other person or entity shall be entitled to any expense

reimbursement, break-up fee, termination, or other similar fee or payment in connection with the

Sale(s).

         18.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h) or

6006(d), the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

         19.      The Debtors are authorized and empowered to execute and deliver such documents,

and to take and perform all actions necessary to implement and effectuate the relief granted in this

Order.

         20.      All persons and entities that participate in the Sale Process and/or the Auction(s)

shall be deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction of this

Court with respect to all matters related to the Bid Procedures, the Sale Process, and the Auction(s).

         21.      To the extent of any inconsistences between the Bid Procedures and this Order, this

Order shall govern.

         22.      The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the Bid Procedures or this Order.



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